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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 JEWELS A. CARDONA,

         Plaintiff,
                                                        Case No. 8:22-cv-01821-MSS-
 v.                                                     MRM

 PORTFOLIO RECOVERY
 ASSOCIATES, LLC,

         Defendant.
                                                   /


                                 NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that JEWELS A. CARDONA (“Plaintiff”) hereby notifies

the Court that the Plaintiff and Defendant, PORTFOLIO RECOVERY ASSOCIATES, LLC,

have settled all claims between them in this matter and are in the process of completing the final

closing documents and filing the dismissal. The Parties anticipate this process to take no more

than 60 days and request that the Court retain jurisdiction for any matters related to completing

and/or enforcing the settlement. The Parties propose to file a dismissal with prejudice within 60

days of submission of this Notice of Settlement and pray the Court to stay all proceedings until

that time.

Dated on this 12th day of October 2022.


                                                              /s/ Franklin A. Jara
                                                              Franklin A. Jara
                                                              Florida Bar No. 636681
                                                              Sulaiman Law Group, Ltd.
                                                              2500 S. Highland Ave., Suite 200
                                                              Lombard, Illinois 60148
                                                              Phone: (312) 313-1613
                                                              Fax: (630) 575-8188
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                                                            fjara@sulaimanlaw.com
                                                            Attorney for Plaintiff




                                CERTIFICATE OF SERVICE

        I hereby certify that I today caused a copy of the foregoing document to be electronically
filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of
record.

                                                            /s/ Franklin A. Jara
                                                            Franklin A. Jara
